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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON; MARC
 MITCHELL; LAZONIA BAHAM; JANE
 DOE; TIFFANY LACROIX; FAYONA                         Civil Action No. 17-10721
 BAILEY; JOHN ROE; and SILENCE IS
 VIOLENCE,                                            Section H
                                                      Judge Jane Triche Milazzo
        Plaintiffs,
                                                      Division 1
 v.                                                   Magistrate Judge Janis van Meerveld

 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;
 GRAYMOND MARTIN; DAVID PIPES;
 IAIN DOVER; JASON NAPOLI; ARTHUR
 MITCHELL; TIFFANY TUCKER;
 MICHAEL TRUMMEL; MATTHEW
 HAMILTON; INGA PETROVICH; LAURA
 RODRIGUE; SARAH DAWKINS; and
 JOHN DOE, in their individual capacities,

        Defendants.


                        REPLY MEMORANDUM IN SUPPORT OF
                      MOTION TO CONFIRM STAY OF PROCEEDINGS

       Defendants Leon Cannizzaro (in his individual capacity and in his official capacity as

District Attorney of Orleans Parish); Graymond Martin; David Pipes; Iain Dover; Jason Napoli;

Arthur Mitchell; Tiffany Tucker; Michael Trummel; Matthew Hamilton; Inga Petrovich; Laura

Rodrigue; and Sarah Dawkins (the “Defendants”), through undersigned counsel, respectfully

submit this reply to the opposition memorandum filed by the Plaintiffs, Doc. No. 127, and in

further support of their motion seeking to confirm that the proceedings in this case have been

automatically stayed until the U.S. Court of Appeals for the Fifth Circuit dismisses the Defendants’

appeal, or remands the case, in whole or in part, Doc. No. 121.




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I.        The question of pendent appellate jurisdiction is properly decided by the Fifth
          Circuit.

          The Defendants’ appeal challenges the “den[ial] of absolute and qualified immunity as to

some of the claims against the Individual Defendants” along with certain rulings on the Plaintiffs’

official-capacity claims that are “inextricably intertwined with the issues presented in the

Individual Defendants’ appeal of the denial of immunity.” Doc. No. 121-1 at 2. Because each of

the Defendants is appealing at least some portion of the Court’s order, the Defendants respectfully

submit that this Court is divested of jurisdiction over all Defendants until the Fifth Circuit

dismisses the appeal or remands the case, in whole or in part. See Carty v. Rodriguez, 211 F. App’x

292, 293 (5th Cir. 2006) (“A district court’s denial of a defense of qualified immunity is

immediately appealable, and once an appeal is filed, the district court is divested of its jurisdiction

to proceed against that defendant.”).

          As explained in the Defendants’ Motion, the Fifth Circuit has pendent appellate jurisdiction

over issues that are inextricably intertwined with the issues presented by the Defendants’ appeal

of the denial of immunity. The Plaintiffs speculate that “[i]t is unlikely” that the Fifth Circuit will

exercise pendent appellate jurisdiction, see Doc. No. 127 at 5, but the Defendants respectfully

submit that that is a decision for the Fifth Circuit to make. In fact, the Plaintiffs, apparently

recognizing that the Fifth Circuit now has jurisdiction over this case as a result of the Defendants’

appeal, have filed a motion in the Fifth Circuit seeking partial dismissal of the appeal.1 That motion

presents essentially the same arguments on appellate jurisdiction made in the Plaintiffs’ Opposition

in this Court, Doc. No. 127. The Fifth Circuit should be allowed to determine the scope of its own




1
    The Plaintiffs’ motion is attached as Exhibit 1.


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jurisdiction, and the proceedings in this Court should be stayed pending such a determination.2

Even assuming for the sake of argument that this Court retains the authority to determine the scope

of the appeal, there is no good reason for it to duplicate effort and risk inconsistent results by

deciding an issue that has been presented for decision to the Fifth Circuit.

II.    Assuming the Court considers it proper to decide the issue, the Defendants’ immunity
       appeal is inextricably intertwined with the question of whether the Plaintiffs have
       adequately stated causes of action against all the Defendants.

       The Plaintiffs’ argument against pendent appellate jurisdiction rests largely on the mistaken

premise that qualified immunity is not at issue in the appeal. They contend that “[t]his Court did

not deny Defendants qualified immunity on any of the claims for which they asserted it,” Doc. No.

127 at 4, but this is incorrect. The Defendants argued (in the alternative) that the claims against all

the Individual Defendants “are barred by qualified immunity because the alleged conduct would

not violate clearly established law.” Doc. No. 63; see also Doc. No. 63-1 at 22 (“[A] plaintiff

seeking to defeat qualified immunity must show: (1) that the official violated a statutory or

constitutional right, and (2) that the right was clearly established at the time of the challenged

conduct.”) (quoting Morgan v. Swanson, 659 F.3d 359, 371 (5th Cir. 2011)); id. at 45 (“The claims

based on supervisor liability and failure to intervene fail because the Plaintiffs have not adequately

alleged any underlying actionable violation of their rights.”).

       Yet this Court’s ruling on the Defendants’ motion to dismiss states that “claims seeking

monetary damages . . . from Defendants Cannizzaro, Martin, and Pipes in their individual

capacities . . . regarding the alleged creation and use of ‘subpoenas’” (based on alleged failure to



2
  See, e.g., Weingarten Realty Investors v. Miller, 661 F.3d 904, 908–09 (5th Cir. 2011) (“The
Court was concerned with the simultaneous exercise of jurisdiction by a district court and a court
of appeals, because that could lead to both courts’ deciding the same issue . . . . Appeals deprive
the district court of jurisdiction, solving this problem.”).


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supervise and intervene) remain in the case. See Doc. No. 116 at 51. By allowing claims for

damages to proceed against Mr. Cannizzaro, Mr. Martin, and Mr. Pipes, the Court implicitly

denied their asserted defenses of absolute and qualified immunity. Although the Court’s order does

not specify precisely which damages claims against these individuals survive, the reference to

claims “regarding the alleged creation and use of ‘subpoenas’” presumably includes, at a

minimum, the First Amendment compelled-speech claims3 and the Fourteenth Amendment

substantive-due-process claims.4

       As the Plaintiffs recognize, “[a] qualified immunity analysis . . . invites consideration of

the underlying merits.” Doc. No. 127 at 7; see also Doc. No. 121-1 at 2–3 (collecting cases).

Accordingly, the Defendants’ appeal of the denial of qualified immunity to Mr. Cannizzaro, Mr.

Martin, and Mr. Pipes as to the above-referenced claims will necessarily raise the issues of whether

the Plaintiffs—including SIV—have adequately stated a cause of action in those claims. The Fifth

Circuit has recognized that an appellate court reviewing the denial of qualified immunity on a Rule

12(b)(6) motion to dismiss has “‘jurisdiction to pass on the sufficiency of [the] pleadings,’ which

is an ‘issue of law’ that ‘is both inextricably intertwined with, and directly implicated by, the

qualified immunity defense.’” Bosarge v. Miss. Bureau of Narcotics, 796 F.3d 435, 439 (5th Cir.

2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 672–73 (2009)). And because the official-capacity

claims against Mr. Cannizzaro are based on the same alleged wrongdoing by the Individual

Defendants, these official-capacity claims are likewise inextricably intertwined with the issues on



3
 See Doc. No. 116 at 22 (“At issue here is whether prosecutors’ use of ‘subpoenas’ to compel
witnesses into meeting privately with prosecutors outside of court violates the First Amendment’s
compelled speech doctrine.”).
4
  See Doc. No. 116 at 25 (suggesting that the surviving substantive-due-process claims are based
on “Plaintiffs’ allegations that prosecutors manufactured ‘subpoenas,’ deliberately side-stepping
judicial oversight of the subpoena process”).


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appeal. See Pollard v. City of Columbus, 780 F.3d 395, 401 (6th Cir. 2015); Roberts v. City of

Omaha, 723 F.3d 966, 975–76 (8th Cir. 2013); see also Doc. No. 127 at 6 (recognizing that the

Plaintiffs’ official-capacity claims require proof of “a violation of constitutional rights”).

         The Plaintiffs cite three cases holding that denial of qualified immunity is not “inextricably

intertwined” with the question of whether defendants were “final decisionmakers whose conduct

is covered by § 1983,” Cutler v. Stephen F. Austin State Univ., 767 F.3d 462, 467 (5th Cir. 2014),5

of whether a sheriff was a “policymaker” for the county, Swint v. Chambers Cty. Comm’n, 514

U.S. 35, 51 (1995), or of whether a city was entitled to sovereign immunity, Hill v. City of Seven

Points, 31 F. App’x 835, 2002 WL 243261, at *7 (5th Cir. 2002). But the Defendants do not seek

to raise any of these issues in their appeal. Rather, the Defendants intend to challenge the

sufficiency of the Plaintiffs’ pleadings as a matter of law—an issue that, according to the Fifth

Circuit, is “inextricably intertwined with, and directly implicated by, the qualified immunity

defense.” Bosarge, 796 F.3d at 439 (quotation omitted).

III.     Claims for injunctive relief against the Defendants cannot proceed while those same
         Defendants are litigating an appeal raising some of the same issues.

         The Plaintiffs argue that claims against the Defendants seeking injunctive relief may

proceed in this Court while those same Defendants are litigating their appeal as to immunity and

related issues in the Fifth Circuit. However, they have cited no authority that would allow such a

thing.




5
  The Plaintiffs mischaracterize Cutler as an example of the Fifth Circuit, in a qualified-immunity
appeal, “declin[ing] to assert pendant jurisdiction over related official capacity claims.” Doc. No.
127 at 5. In fact, the Fifth Circuit in Cutler declined to consider an asserted defense by two
individual-capacity defendants because the defense (that they “were not final decisionmakers
whose conduct is covered by § 1983”) was based on “a different set of facts” than the qualified-
immunity defense. See Cutler, 767 F.3d at 467–68.


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        The Plaintiffs cite Alice L. v. Dusek, 492 F.3d 563, 564–65 (5th Cir. 2007), in which claims

under 20 U.S.C. § 1681 were allowed to proceed in district court against a school district while a

school official appealed the denial of qualified immunity as to the § 1983 claims against her. But

the claims against the school district were “legally distinct” from the claims against the official,

and the school district was not a party to the appeal. See id. at 565; see also Stumpf v. City of

Dallas, No. 15-cv-1944, 2016 WL 10749149 (N.D. Tex. May 25, 2016) (allowing “legally

distinct” Americans with Disabilities Act claims against the city to proceed while an individual

defendant appealed the denial of qualified immunity as to the § 1983 claims against him); Harris

v. City of Balch Springs, 33 F. Supp. 3d 730, 732–33 (N.D. Tex. 2014) (allowing “legally distinct”

claims “not related to those” on appeal to proceed against the city while an individual defendant

appealed the denial of qualified immunity as to the claims against him); Saenz v. City of El Paso,

No. 14-cv-244, 2015 WL 4590309, at *1, 4–6 (W.D. Tex. Jan. 26, 2015) (denying request to “stay

all proceedings and all discovery” against “all defendants” until one defendants’ assertion of

qualified immunity was decided).6

        None of the jurisprudence cited by the Plaintiffs suggests that claims for injunctive relief

may proceed against a defendant who is a party to a pending appeal—particularly when the claims

for injunctive relief implicate factual and legal issues that are raised by the appeal. As the Plaintiffs

recognize, interlocutory appeals leave the district court with jurisdiction only as to “matters that

are not involved in that appeal.” See Doc. No. 127 at 8 (quoting Weingarten, 661 F.3d at 908).




6
  Contrary to the Plaintiffs’ characterization, Saenz did not involve a “defendant’s appeal of
qualified immunity denial,” see Doc. No. 127 at 9.


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Here, at least some of the claims for which the Plaintiffs seek injunctive relief will be considered

on the merits in the Defendants’ immunity appeal.7

                                           CONCLUSION

          For the reasons explained above and in the Defendants’ motion, Doc. No. 121, the

Defendants respectfully request that the Court enter an order confirming that proceedings in this

Court are stayed until the appeal is dismissed or the case is remanded in whole or in part by the

Fifth Circuit.



          Respectfully submitted,


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7
 As explained above, the appeal of the denial of qualified immunity as to the Plaintiffs’ claims
under the First Amendment and the Fourteenth Amendment necessarily raises the question of
whether they have stated a cognizable cause of action under those amendments.


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